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 8                            IN THE UNITED STATES DISTRICT COURT
 9                        FOR THE SOUTHERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                         Case No. 18-CR-4683-GPC
11                                                     Honorable Gonzalo P. Curiel
12               Plaintiff,
                                                       ORDER GRANTING
13 v.                                                  DEFENDANTS’ MOTION
                                                       REQUESTING LEAVE TO FILE AN
14                                                     UPDATE REGARDING THEIR
   JACOB BYCHAK, et al.,                               SUPPLEMENTAL MEMORANDUM
15                                                     OF POINTS AND AUTHORITIES IN
                                                       SUPPORT OF MOTIONS FOR
16     Defendants.                                     RECONSIDERATION AND TO
                                                       COMPEL
17
18                                                     Date: November 18, 2021
                                                       Time: 2:00 p.m.
19                                                     Dept.: 2D
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     3761552.1
                                                 1                      Case No. 18-CR-4683-GPC
                 ORDER GRANTING DEFENDANTS' MOTION REQUESTING LEAVE TO FILE AN UPDATE
Case 3:18-cr-04683-GPC Document 309 Filed 11/16/21 PageID.3925 Page 2 of 2




 1               IT IS HEREBY ORDERED that Defendants’ Motion Requesting Leave to
 2 File An Update Regarding Their Supplemental Memorandum of Points and
 3 Authorities In Support of Defendants’ Motions for Reconsideration and to Compel,
 4 filed via CM/ECF on November 11, 2021 (see Dkt. 307), is granted.1
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 6               IT IS SO ORDERED.
 7 Dated: November 16, 2021
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      Defendants’ Update is attached as Exhibit A to the Motion Requesting Leave
28 and, as such, has not been filed under seal.
     3761552.1
                                                 2                      Case No. 18-CR-4683-GPC
                 ORDER GRANTING DEFENDANTS' MOTION REQUESTING LEAVE TO FILE AN UPDATE
